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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                                Chapter 11

AMYRIS, INC., et al.,                                                 Case No. 23-11131 (TMH)

                                   Debtors. 1                         (Jointly Administered)

                                                                      Ref. Docket No. 148


                 EXHIBITS TO DEBTORS’ EMERGENCY MOTION
         TO ASSUME AND/OR ENTER INTO REIMBURSEMENT AGREEMENTS
          WITH PROFESSIONALS FOR THE AD HOC NOTEHOLDER GROUP




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    A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
    claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s principal
    place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite 100,
    Emeryville, CA 94608.



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